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14                        IN THE UNITED STATES DISTRICT COURT
15                           CENTRAL DISTRICT OF CALIFORNIA
16                                      SOUTHERN DIVISION
17     DEL OBISPO YOUTH BASEBALL, INC. Case No.: 8:21-cv-00199-JVS-DFM
18     d/b/a DANA POINT YOUTH
       BASEBALL,
19                                     STIPULATION AND PROPOSED
              Plaintiff,
20                                     ORDER CONTINUING HEARING
       v.                              ON DEFENDANTS THE
21
       THE AMBASSADOR GROUP LLC d/b/a AMBASSADOR GROUP LLC d/b/a
22     AMBASSADOR CAPTIVE SOLUTIONS, AMBASSADOR CAPTIVE
       et al.                          SOLUTIONS’ AND BRANDON
23                                     WHITE’S MOTION TO DISMISS
              Defendants.
24
                                       Complaint Filed: January 28, 2021
25
26
27
28
      STIPULATION TO CONTINUE HEARING                       No. 8:21-cv-00199-JVS-DFM
      ON MOTION TO DISMISS
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 1            Plaintiff Del Obispo Youth Baseball, Inc. d/b/a Dana Point Youth Baseball
 2    (“Plaintiff”) and Defendants The Ambassador Group LLC and Brandon M. White
 3    (together, “Ambassador”), through their undersigned counsel, hereby stipulate as follows
 4    pursuant to Local Rule 7-1:
 5            WHEREAS, on January 28, 2021 Plaintiff filed its Class Action Complaint (ECF
 6    1) in this action.
 7            WHEREAS, the parties agreed pursuant to the Stipulation To Extend Time To
 8    Respond To Initial Complaint By Not More Than 30 Days (L.R. 8-3) (ECF 23) filed on
 9    March 3, 2021 to extend the response date for Ambassador to and including March 8,
10    2021.
11            WHEREAS, on March 8, 2021, Ambassador timely filed their Notice Of Motion
12    And Motion To Dismiss For Lack Of Personal Jurisdiction Or, In The Alternative, To
13    Transfer (ECF 24).
14            WHEREAS, Plaintiff filed its First Amended Complaint (ECF 34) on April 9,
15    2021 which was ordered by the Court pursuant to the Parties stipulation (ECF 31 and 32).
16            WHEREAS, on April 23, 2021, Ambassador filed their Notice Of Second Motion
17    And Second Motion To Dismiss For Lack OF Personal Jurisdiction OR, In The
18    Alternative, To Transfer (“MTD”) (ECF 41) which is set for hearing on June 7, 2021
19    (“MTD Hearing”).
20            WHEREAS, on May 4, 2021, Plaintiff served special interrogatories and requests
21    for production of documents relating to personal jurisdiction on Ambassador, whose
22    deadline to respond is June 3, 2021 (“Discovery Response Deadline”).
23            WHEREAS, the Parties hereby stipulate to continue the MTD Hearing until after
24    the Discovery Response Deadline.
25            WHEREAS, the Parties hereby stipulate and request that the Court continue the
26    MTD Hearing from June 7, 20201 to July 12, 2021 at 1:30 p.m. or as soon thereafter as it
27    can be heard by the Court. Plaintiff’s opposition brief in response to the MTD will be
28    due on June 14, 2021; Ambassador’s reply in support of the MTD will be due on June 25,

      STIPULATION TO CONTINUE HEARING                            No. 8:21-cv-00199-JVS-DFM
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 1    2021.
 2            WHEREAS, the Parties respectfully submit the following Stipulation and Request
 3    for an Order:
 4                                     STIPULATION
 5            THEREFORE, and subject to the Court’s approval, the Parties stipulate through
 6    their respective attorneys and request that the Court continue the MTD Hearing from
 7    June 7, 2021 to July 12, 2021 at 1:30 p.m. Plaintiff’s opposition brief shall be filed no
 8    later than June 14, 2021; Ambassador’s reply shall be filed no later than June 25, 2021.
 9            A [Proposed] Order is lodged concurrently herewith.
10    Dated: May 15, 2021                           MORGAN & MORGAN
11                                                  COMPLEX LITIGATION GROUP

12                                           By:          /s/ Michael F. Ram
13                                                        Michael F. Ram

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24                                             and Brandon M. White
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      STIPULATION TO CONTINUE HEARING                        No. 8:21-cv-00199-JVS-DFM
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 1                     Certification Pursuant to Local Rule 5-4.3.4(a)(2)(i)
 2          Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer of the document attests that
 3    concurrence in the filing of the document has been obtained from each of the other
 4    Signatories.
                                                    /s/ Michael F. Ram
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                                                          Michael F. Ram
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      STIPULATION TO CONTINUE HEARING                              No. 8:21-cv-00199-JVS-DFM
      ON MOTION TO DISMISS           4
